     Case 2:19-cv-00720-JAD-VCF Document 28
                                         27 Filed 11/09/20
                                                  11/06/20 Page 1 of 1




 1

 2
     MICHAEL P. LOWRY, ESQ.
 3   Nevada Bar No. 10666
     E-mail: Michael.Lowry@wilsonelser.com
 4   6689 Las Vegas Blvd. South, Suite 200
     Las Vegas, Nevada 89119
 5   Tel: 702.727.1400/Fax: 702.727.1401
     Attorneys for Bonefish Grill, LLC
 6
                                UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
 8
     MYRTLE HYMAN, an Individual,                    Case No. 2:19-cv-720
 9
                   Plaintiff,
10                                                   Stipulation and Order re Response Deadline
     vs.
11
     BONEFISH GRILL, LLC; DOES 1 through                           ECF No. 27
12   100; and ROE CORPORATIONS 101 through
     200, inclusive,
13
                   Defendant.
14

15
            Plaintiff has filed a motion to enforce settlement, ECF No. 23. Defendant’s response is
16
     presently due November 4. The parties stipulate to extend that deadline to November 10 due to
17
     ongoing discussions between Defendant and its counsel about options for opposing the motion.
18
            IT IS SO ORDERED
19                                                      ___________________________________
                                                        UNITED STATES DISTRICT JUDGE
20

21                                                      DATED:
22
       BERNSTEIN & POISSON
23

24
       /s/ Amber N. King                               /s/ Michael P. Lowry
25
       Amber N. King, Esq. (NBN 14070)                 Michael P. Lowry, Esq. (NBN 10666)
26     700 S. Jones Blvd.                              6689 Las Vegas Blvd. South, Suite 200
       Las Vegas, NV 89107                             Las Vegas, Nevada 89119
27     Attorneys for Myrtle Hyman                      Attorneys for Bonefish Grill, LLC

28          IT IS SO ORDERED.
                                               _________________________________
                                               U.S. District Judge Jennifer A. Dorsey
                                               Dated: November 9, 2020
